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               EXHIBIT C
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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                          MISSOULA DIVISION


SAMANTHA ALARIO, HEATHER                     Lead Case No.
DIROCCO, CARLY ANN GODDARD,                  9:23-cv-00056-DWM
ALICE HELD, and DALE STOUT,                  CV 23–56–M–DWM

            Plaintiffs,                      Member Case No.
                                             CV 23–61–M–DWM
      v.
                                             DECLARATION OF CARLY ANN
AUSTIN KNUDSEN, in his official              GODDARD IN SUPPORT OF
capacity as Attorney General of the State    PLAINTIFFS’ MOTION FOR
of Montana,                                  PRELIMINARY INJUNCTION

            Defendant.
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I, Carly Ann Goddard, declare as follows:

      1.       I make this declaration from personal knowledge.

      2.       My husband and I grew up in the South and in 2019, we decided to

move to the West to pursue our dream of ranching. We worked hard to get into the

business. For about a year, my husband worked at a feedlot in Belfry, Montana, and

I worked as a waitress. We lived frugally and eventually saved enough to move to

a ranch in Yellowstone County, where my husband works on a cattle operation.

      3.       I joined TikTok in 2019 as a way to connect with others living and

raising families in rural areas. At the time, I was feeling isolated as a new stay-at-

home mom living in a remote place and was also struggling with postpartum

depression. I had also recently testified at the trial of my grandfather, who sexually

abused me when I was eleven years old. This experience brought back many

traumatic memories.

      4.       On TikTok, I met a community of other mothers and formed many

relationships. One day, I saw a video that another mother had posted on TikTok

describing her day, and I decided to try creating videos about ranch life and

parenting. I fell in love with the process and would wake up looking forward to

creating videos and engaging with the TikTok community. Creating videos gave me

a sense of purpose, passion, hope, and connection—working wonders for my mental

health.



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      5.     I love being able to share content about life on a ranch and to inspire

other young mothers who may feel isolated, as I once did. Being able to show others

that there is a light at the end of the tunnel no matter what you face in life is what I

try to show every single day when I make my videos.

      6.     I also enjoy connecting with other mom creators on TikTok and sharing

thoughts, experiences, and ideas. Whether learning a new healthy recipe for my

family or checking in on a member of the community who is struggling, I have found

TikTok to be such a positive and connecting force.

      7.     Over time, my videos became quite popular, and I developed over

101,000 followers. Because of this following, I have been able to generate

substantial income from creating videos on TikTok. I raise income both through

TikTok’s Creator Fund (which pays creators based in part on their videos’

performance and views) and through brand deals, where I discuss different products

I use, usually for parenting and home décor. I typically earn between $2,000 to

$4,000 every month from my TikTok videos. Because ranching is not a highly

profitable business, the money I earn through TikTok approximately triples my

family’s monthly household income.

      8.     My family has come to rely on this income for our daily necessities,

such as food, clothes, and doctor’s visits. This money is a lifeline that allows us to

continue to live on a small, remote Montana ranch—and allows me to raise my son



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at home instead of working outside the home. I get to watch my son grow up and

be with him every single day. We love our ranch life and do not want to leave, but

may be forced to consider other options if I am unable to continue earning income

through TikTok. Likewise, my husband and I would like to have more children, but

given the uncertainty of the TikTok ban, we are holding off until we know whether

we will be able to keep the income flow that I have worked so hard to build.

      9.    I have found much greater success as a creator on TikTok than on the

other social media apps. For example, while I have over 101,000 followers on

TikTok, I have only 157 followers on YouTube. The TikTok algorithm seems to

more effectively share my content with audiences who appreciate it. Thus, if I no

longer had access to TikTok, I would not simply be able to move my videos to

another app and have the same audience.

      10.   To the contrary, if the Montana TikTok ban is allowed to take effect, I

would be deprived of access to a community that I love and of income that my family

and I have come to rely on.

      I declare under penalty of perjury that the foregoing is true and correct.

Signed in Yellowstone County, Montana this 4th day of July, 2023.




                                                           Carly Ann Goddard


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